          Case 01-01139-AMC                Doc 31687-6           Filed 01/31/14          Page 1 of 10




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



In re:                                                        ) Chapter 11
                                                              ) Case No. 01-1139 (KJC)
W.R. GRACE & CO., et al.,                                     ) (Jointly Administered)

                           Debtors.



DECLARATION OF RICHARD H. WYRON IN SUPPORT OF THE APPLICATION OF
ROGER FRANKEL, ASBESTOS PI FUTURE CLAIMANTS' REPRESENTATIVE, FOR
     THE ENTRY OF AN ORDER AUTHORIZING THE RETENTION AND
  EMPLOYMENT OF FRANKEL WYRON LLP AS BANKRUPTCY CO-COUNSEL
                NUNC PRO TUNC TO JANUARY 16, 2014

         I, RICHARD H. WYRON, hereby state as follows:

    1.     I am a partner in the law firm of Frankel Wyron LLP ("FW LLP"). I maintain my

office for the practice of law at 2101 L Street, N.W., Suite 800, Washington, D.C. 20037. I am

admitted to practice before the bars of the District of Columbia and the State of Maryland, the

United States Bankruptcy Courts and the United States District Courts for the District of

Columbia and the District of Maryland, and the United States Courts of Appeals for the Third

and Fourth Circuits and the District of Columbia Circuit, among other courts. I am admitted pro

hac vice to the United States Bankruptcy and District Courts for the District of Delaware in

connection with these Chapter 11 Cases.'

    2.     I submit this declaration (the "Declaration") in support of the Application of Roger

Frankel, Asbestos Personal Injury Future Claimants' Representative, for Entry of an Order




 Capitalized terms used herein and not defined shall have the meanings ascribed to them in the Application (as
defined herein).
         Case 01-01139-AMC           Doc 31687-6       Filed 01/31/14      Page 2 of 10




Authorizing the Retention and Employment of Frankel Wyron LLP as Bankruptcy Co-Counsel

Nunc Pro Tunc to January 16, 2014.

   3.    Unless otherwise stated in this Declaration, I have personal knowledge of the facts set

forth herein.

   A.           The Appointment of Mr. Austern and Mr. Frankel, and the Retention of
                Bankruptcy Counsel

   4.    In May 2004, the Court appointed David T. Austern as the legal representative for

future asbestos personal injury claimants in these Chapter 11 Cases (the "Austern Appointment

Order"). The Austern Appointment Order, among other things, authorized Mr. Austern to

employ professionals consistent with sections 327 and 1103 of the Bankruptcy Code.

   5.    Following his appointment, Mr. Austern sought and received Court approval to retain

and employ Swidler Berlin LLP ("Swidler"), the firm in which Mr. Frankel and I were then

partners, as bankruptcy counsel to represent him in these Chapter 11 Cases.

   6.    In February 2006, I, along with Mr. Frankel and other lawyers who had represented Mr.

Austern while at Swidler, joined Orrick. At that time, Mr. Austern decided to retain the lawyers

responsible for representing him, including Mr. Frankel and me, and our new law firm, to

continue to represent him in these Chapter 11 Cases. Accordingly, Mr. Austern sought and

received Court approval to retain and employ Orrick as his bankruptcy counsel.

   7.    Mr. Austern died in May 2013.

   8.    Following Mr. Austern's death, the Debtors filed a Motion for Entry of an Order

Appointing Roger Frankel as the Successor Legal Representative for Future Asbestos Personal

Injury Claimants Nunc Pro Tunc to May 16, 2013 (the "Successor FCR Appointment Motion")

and a supporting declaration by Mr. Frankel (the "Frankel Declaration").




                                               2
          Case 01-01139-AMC           Doc 31687-6        Filed 01/31/14       Page 3 of 10




    9.     The Court granted the Successor FCR Appointment Motion and entered the

Appointment Order appointing Mr. Frankel as the successor FCR in these Chapter 11 Cases nunc

pro tunc to May 16, 2013. The Appointment Order provides Mr. Frankel with the same rights

and powers provided to Mr. Austere pursuant to the Austern Appointment Order, including,

among other things, the right to retain and employ counsel consistent with sections 327 and 1103

of the Bankruptcy Code, subject to approval of the Court.

    10. Mr. Frankel sought and obtained Court approval to retain and employ Orrick as his

bankruptcy counsel effective as of May 16, 2013.

    11. Effective as of January 15, 2014, Mr. Frankel and I withdrew as partners in Orrick. As

of January 16, 2014, Mr. Frankel and I began practicing law as partners in FW LLP. Mr. Frankel

wishes to retain me (through FW LLP) as co-counsel with Orrick to continue to represent him

during the balance of these Chapter 11 Cases.

                                     FW LLP's Qualifications

   12. Since May 2004 when Mr. Austere was appointed as the future claimants'

representative, and continuing after Mr. Frankel's appointment as the successor FCR, I, along

with my colleagues, first at Swidler and then at Orrick, represented Mr. Austere and Mr. Frankel

in their capacities as the asbestos personal injury future claimants' representative in these

Chapter 11 Cases.

   13. During that time, I, along with other lawyers, worked closely with Mr. Austere, and

then with Mr. Frankel, in every aspect of these cases, including:

         a. Conducting due diligence regarding the Debtors and their affiliates, including an
            analysis of their assets and liabilities;

         b. Participating in a mediation, which failed to achieve a consensual plan of
            reorganization;



                                                 3
           Case 01-01139-AMC            Doc 31687-6        Filed 01/31/14       Page 4 of 10




          c. Participating in the highly contested estimation trial of the Debtors' present and future
             asbestos personal injury liabilities;

          d. Participating in the negotiation and drafting of numerous insurance settlement
             agreements, which provide for the payment of millions of dollars for the benefit of
             present and future asbestos personal injury claimants;

          e. Litigating against the Debtors in connection with their requests for multiple extensions
             of their exclusive periods to file a plan of reorganization and solicit votes in
             connection therewith, including an appeal thereto, which ultimately resulted in an
             order terminating the Debtors' exclusive periods;

          f. Participating in the negotiations that led to a global settlement of the Debtors' asbestos
             liabilities, which settlement formed the basis for the Plan;

          g. Participating in the negotiation and drafting of the Plan as counsel for a co-proponent;

          h. Litigating, along with the Debtors and the other co-proponents of the Plan, in this
             Court and on appeal to the District Court, against numerous plan opponents in
             connection with confirmation of the Plan, which resulted in this Court's entry of the
             Confirmation Order and the District Court's affirmance of that order; and

          i. Participating in briefing the appeals from the Confirmation Order in the Third Circuit,
             and in preparing for oral argument.

    14. Given my many years of experience in these Chapter 11 Cases, I am intimately familiar

with the Debtors, the Plan and Plan Documents, the Confirmation Order, the District Court's

opinions and orders affirming the Confirmation Order, and the issues related to the anticipated

effective date and implementation of the Plan.

    15. In addition, I have extensive experience in other asbestos bankruptcy cases, particularly

as bankruptcy counsel to future claimants' representatives. I am familiar with the concerns and

issues important to the FCR and to the asbestos personal injury claimants who may assert claims

or demands in the future.

    16.     Given my experience in these Chapter 11 Cases and in representing future claimants'

representatives in other matters, my continued employment will provide Mr. Frankel with

efficient and effective representation, thus assisting him in performing his duties and


                                                    4
          Case 01-01139-AMC          Doc 31687-6        Filed 01/31/14      Page 5 of 10




responsibilities as the FCR as the effective date of the Plan approaches and these cases draw to a

close.

    17.    Accordingly, I believe FW LLP is well suited to assist the FCR as his bankruptcy

co-counsel along with Orrick during the balance of these Chapter 11 Cases.

                                 Scope of FW LLP's Retention

    18.    The FCR has requested that FW LLP render the following services in connection with

these Chapter 11 Cases:

           a. provide legal advice and representation with respect to the FCR's powers and
              duties in connection with the Chapter 11 Cases;

           b. prepare and file on behalf of the FCR all applications, motions, responses,
              objections and other pleadings in these Chapter 11 Cases, including any appeals
              related thereto, as may be necessary and as the FCR authorizes;

           c. appear on behalf of and represent the FCR in these Chapter 11 Cases, including,
              inter alia, at meetings, court hearings, oral arguments, and other proceedings, as
              appropriate, before this Court or others;

           d. represent and advise the FCR with respect to any contested matter, adversary
              proceeding, lawsuit or other proceeding in which he may become a party or
              otherwise appear in connection with the Chapter 11 Cases, including any appeals
              related thereto;

           e. represent and advise the FCR with respect to the Plan including, for example, in
              connection with finalizing the Plan Documents and moving toward the effective
              date and implementation of the Plan; and

           f. perform all other necessary legal services that the FCR authorizes and/or requests
              as may be appropriate in connection with these Chapter 11 Cases, including any
              appeals related thereto.

    19.    Subject to the Court's approval of the Application, FW LLP is willing to act on behalf

of, and render such services to, the FCR on the same terms and conditions as Orrick rendered to

Mr. Frankel prior to January 16, 2014.




                                                 5
          Case 01-01139-AMC          Doc 31687-6       Filed 01/31/14      Page 6 of 10




   20.     I believe that employing FW LLP as bankruptcy co-counsel will provide the FCR with

advice and assistance in a cost effective manner. Because I was the lead partner on the team

representing Mr. Frankel while we were both at Orrick, I expect that there will be no duplication

of effort between FW LLP and Orrick, and that the lawyers at Orrick and I will continue to

function together smoothly as we have since May 2004.

                   Connections to the FCR, the Debtors and Other Parties

   21.     Mr. Frankel and I have worked together for many years on these Chapter 11 Cases.

We have also worked together in representing other clients on other matters, including

representing future claimants' representatives in other chapter 11 cases and in connection with

section 524(g) trusts formed under confirmed plans, and we expect to continue to do so during

Mr. Frankel's tenure as the FCR in these Chapter 11 Cases. Mr. Frankel has been appointed as

the future claimants' representative to the Combustion Engineering Asbestos Settlement Trust

(the "CE Trust"), in addition to his position as the FCR in these Chapter 11 Cases. FW LLP

represents Mr. Frankel in connection with the CE Trust. FW LLP also represents, among other

clients, the Shook & Fletcher Asbestos Settlement Trust and the future claimants' representative

to the Congoleum Asbestos Settlement Trust. None of such other matters is related to the

Debtors or these Chapter 11 Cases.

    22.    I understand that Mr. Frankel intends to provide monthly fee statements of his fees and

expenses incurred in his capacity as the FCR, and to file fee applications seeking compensation

and reimbursement of expenses, separate and apart from the monthly fee statements and fee

applications filed by FW LLP. It is my understanding that amounts allowed by the Court as

compensation for fees and reimbursement of expenses for Mr. Frankel's services as the FCR

from January 16, 2014 forward will be paid to FW LLP.



                                                6
          Case 01-01139-AMC            Doc 31687-6        Filed 01/31/14       Page 7 of 10




    23.    In order to determine whether any conflict of interest exists which would preclude me

and FW LLP from serving as co-counsel to the FCR and to determine whether connections exist

which should be disclosed under Bankruptcy Rule 2014, I reviewed a list of parties provided to

me by Orrick. My understanding is that the list was originally provided by the Debtors in

connection with Mr. Austern's retention of counsel in 2004 and that since that time, Orrick has

updated the list as additional parties in interest and their attorneys and accountants have entered

their appearances or otherwise become known to Orrick in these Chapter 11 Cases (the original

list provided by the Debtors and the updates thereto are referred to herein as the "Listed

Parties"). Attached hereto as Exhibit 1 is the current list of the Listed Parties. I limited my

review to the Listed Parties.

   24.     I have reviewed the list of FW LLP clients and matters with a view toward

determining whether FW LLP has any identified connections with any of the Listed Parties.

   25.     As far as I am able to ascertain and to the best of my knowledge, and except as

otherwise set forth herein, FW LLP does not hold or represent any interest adverse to the Debtors

or their estates with respect to the matters on which FW LLP is to be employed, and has no

connections with the Debtors, their creditors, any other party in interest, their respective

attorneys and accountants, the United States Trustee, or any person employed in the office of the

United States Trustee. FW LLP is or may become involved in matters unrelated to these Chapter

11 cases in which such parties, or attorneys or accountants for such parties, were, are or become

involved. FW LLP also may have or represent interests adverse to certain of such creditors or

parties in interest in matters unrelated to these Chapter 11 Cases.

   26.     In addition to the foregoing, I have professional or personal associations with, or

interests aligned with or adverse to, creditors or parties in interest, or their attorneys, accountants



                                                   7
         Case 01-01139-AMC            Doc 31687-6        Filed 01/31/14      Page 8 of 10




or advisors. As part of its practice, FW LLP represents clients in cases, proceedings and

transactions involving many different parties, and works together with many different parties,

which may include creditors or parties in interest, or attorneys, accountants or other professional

firms or advisors who may represent creditors or parties in interest, in these Chapter 11 Cases.

To the best of my knowledge, none of these associations, relationships or interests has any

connection to the Debtors or these Chapter 11 Cases.

   27.    I am not related to any United States District Judge or United States Bankruptcy Judge

for the District of Delaware or to the United States Trustee for this district or to any known

employee of that office.

   28.     FW LLP is not a creditor, equity security holder or an insider of the Debtors or their

estates. In addition, within two years before the date of filing of these Chapter 11 Cases, I was

not a director, officer, or employee of the Debtors.

   29.    I do not directly hold publicly traded securities of W. R. Grace & Co.

   30.    Accordingly, I believe FW LLP is "disinterested" as that term is defined in section

101(14) of the Bankruptcy Code and may act as bankruptcy co-counsel to the FCR.

                                    Professional Compensation

   31.    FW LLP and the FCR have agreed that FW LLP will represent the FCR, if authorized

by the Court, on the same terms and conditions as such services were rendered to Mr. Frankel by

Orrick prior to January 16, 2014.

   32.    FW LLP intends to apply for compensation for services rendered to Mr. Frankel in

connection with these Chapter 11 Cases on an hourly basis, and for reimbursement of actual and

necessary expenses incurred, in accordance with the applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules and Orders of this Court, including the



                                                 8
         Case 01-01139-AMC           Doc 31687-6        Filed 01/31/14      Page 9 of 10




Administrative Compensation Order, and the guidelines established by the Fee Auditor

appointed in these Chapter 11 Cases.

   33.    In light of confidentiality considerations, FW LLP reserves the right to redact its time

and expense records as it believes appropriate. FW LLP understands that no compensation may

be paid by the Debtors except to the extent allowed or approved by the Court.

   34.    As was the case in 2013 while I was a partner in Orrick, my standard hourly rate is

$875. My hourly rate is subject to periodic increases in the normal course of FW LLP's

business. It is FW LLP's policy to charge its clients for certain disbursements for in-house

services, including postage, telephone charges, duplicating, word processing and the like, as well

as certain third-party payments, including travel expenses, expenses for working meals,

computerized research, transcription costs, and other expenses incurred on the FCR's behalf.

FW LLP agrees to follow the Local Rules and Orders of this Court, including the Administrative

Compensation Order, the guidelines established by the Fee Auditor appointed in these Chapter

11 Cases and any other administrative procedures that apply to these Chapter 11 Cases

concerning compensation.

   35.    To the best of my knowledge, no promises or arrangements have been received by FW

LLP as to payment or compensation in connection with the above-captioned cases other than in

accordance with applicable provisions of the Bankruptcy Code. To the best of my knowledge,

FW LLP has no agreement with any other entity to share with such entity compensation received

by FW LLP in connection with the Debtors' Chapter 11 Cases, except as permitted by Section

504(b)(1) of the Bankruptcy Code.




                                                9
         Case 01-01139-AMC            Doc 31687-6        Filed 01/31/14      Page 10 of 10




        I declare under penally of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief.




                                                      Ri 'hard Wyj:on

Executed on this 31' day of January 2014




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